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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF GEORGIA
                                    ATLANTA DIVISION

           WILBER AVALOS PEREZ,                      :    MOTION TO VACATE
               Movant,                               :    28 U.S.C. § 2255
                                                     :
                 v.                                  :    CRIMINAL INDICTMENT NO.
                                                     :    1:11-CR-0006-CAP-JFK-9
           UNITED STATES OF AMERICA,                 :
               Respondent.                           :    CIVIL FILE NO.
                                                     :    1:13-CV-4028-CAP-JFK

                             UNITED STATES MAGISTRATE JUDGE’S
                            FINAL REPORT AND RECOMMENDATION

                 Movant, Wilber Avalos Perez, seeks via 28 U.S.C. § 2255 to challenge the

           constitutionality of his conviction and sentence entered in this Court under the above

           criminal docket number. The matter is before the Court on the § 2255 motion, (Doc.

           628), the government’s response, (Doc. 631), and Movant’s reply, (Doc. 633).

           I.    Background

                 The Grand Jury for the Northern District of Georgia indicted Movant on one

           count of conspiring to possess with intent to distribute cocaine, methamphetamine, and

           marijuana and on a second count of possessing with intent to distribute five kilograms

           or more of cocaine, 500 grams or more of methamphetamine, and less than 50

           kilograms of marijuana. (Doc. 5 at 2-3). In October 2011, represented by Howard J.

           Manchel, Movant entered into a plea agreement with the government to plead guilty


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           to the second count. (Doc. 318, Guilty Plea and Plea Agreement). The Court accepted

           Movant’s guilty plea and imposed a ninety-eight month term of imprisonment. (Doc.

           598 at 23; Doc. 443). Movant appealed, and the Eleventh Circuit Court of Appeals

           dismissed his appeal based on his valid appeal waiver. (See Doc. 619, Attach.). The

           United States Supreme Court denied certiorari. (Doc. 627).

                 Movant now brings a § 2255 motion in which he raises two grounds for relief:

           (1) ineffective assistance of counsel in regard to the validity of the appeal waiver and

           (2) ineffective assistance of counsel at sentencing. (Doc. 628, Mem. at 5-6).

           II.   28 U.S.C. § 2255 Standard

                 Section 2255 of Title 28 allows a district court to vacate, set aside, or correct a

           federal sentence that was imposed in violation of the Constitution or laws of the United

           States or was imposed by a court without jurisdiction, exceeds the maximum sentence

           authorized by law, or is otherwise subject to collateral attack. 28 U.S.C. § 2255.

           Section 2255 relief “is reserved for transgressions of constitutional rights and for that

           narrow compass of other injury that could not have been raised in direct appeal and

           would, if condoned, result in a complete miscarriage of justice.” Lynn v. United

           States, 365 F.3d 1225, 1232 (2004) (quoting Richards v. United States, 837 F.2d 965,

           966 (11th Cir. 1988)) (internal quotation marks omitted); see also Massaro v. United

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           States, 538 U.S. 500, 505-09 (2003) (holding that a constitutional claim of ineffective

           assistance of counsel generally is properly raised on collateral review in order to allow

           for adequate development and presentation of relevant facts). On collateral review, it

           is the movant’s burden to establish his right to relief. Mackey v. United States, 221 F.

           App’x 907, 910 (11th Cir. 2007).

                  “An evidentiary hearing is not required when ‘the motion and the files and

           records of the case conclusively show that the prisoner is entitled to no relief.’”

           Gordon v. United States, 518 F.3d 1291, 1301 (11th Cir. 2008) (quoting § 2255).

           That is the case here, as shown in the discussion below.

           III.   Discussion

                  Movant stated in his guilty plea agreement that he understood “that he ordinarily

           would have the right to appeal his sentence and, under some circumstances, to attack

           the conviction and sentence in post-conviction proceedings” and that “[b]y entering

           this Plea Agreement, [he] may be waiving some or all of those rights to appeal and to

           collaterally attack his conviction and sentence[.]” (Doc. 318, Guilty Plea and Plea

           Agreement at 2). Movant specifically agreed that he voluntarily and expressly waived

           the right to appeal or collaterally attack his conviction and sentence, with exceptions

           that do not apply here. (Id. at 12). In exchange for Movant’s guilty plea, the

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           government, among other things, agreed to bring no additional charges related to the

           charge to which he was pleading guilty, that all remaining counts against Movant

           would be dismissed, and that it would recommend that Movant receive a downward

           adjustment to his guidelines offense level. (Id. at 4-5). Movant signed the guilty plea

           with the following statement:

                  I have read the foregoing Plea Agreement and have carefully reviewed
                  every part of it with my attorney. I understand the terms and conditions
                  contained in the Plea Agreement, and I voluntarily agree to them. I also
                  have discussed with my attorney the rights I may have to appeal or
                  challenge my conviction and sentence, and I understand that the appeal
                  waiver contained in the Plea Agreement will prevent me, with the narrow
                  exceptions stated, from appealing my conviction and sentence or
                  challenging my conviction and sentence in any post-conviction
                  proceeding.

           (Id. at 14).

                  At the plea hearing, the government reviewed the plea agreement, including the

           waiver of appeal provision, and stated on the record that the agreement included

           “[Movant’s] voluntary and express waiver of the right to appeal his conviction and

           sentence, and the right to collaterally attack his conviction and sentence in any post

           conviction proceeding on any ground, except where the Court upwardly departs or

           upwardly varies from the guidelines range as calculated by the Court or where the

           government directly appeals the sentence imposed.” (Doc. 598 at 11). Movant, under

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           oath, stated that he agreed with the government’s description of the plea agreement and

           that he understood the plea agreement. (Id. at 11-12). When the Court asked Movant

           whether anyone had advised him not to tell the complete truth, Movant responded,

           “No.” (Id. at 12-13). The Court again explained to Movant that in his plea agreement

           he was waiving his appeal rights, with the exceptions noted in the plea agreement, and

           asked Movant whether he understood that provision. (Id. at 20-21). Movant stated

           that he understood. (Id. at 21). The Court again explained to Movant that he was

           waiving his right to collaterally attack his sentence and asked him if he understood.

           (Id.). Movant stated that he did. (Id.).

                 At the end of the hearing, the Court asked Movant, “[i]s there anything I have

           said or any questions I have asked that you do not understand or you wish me to go

           back over and clarify?” (Id. at 22). Movant responded, “No, I understood everything.”

           (Id.). The Court asked, “Do you and your attorney both feel you have had sufficient

           time to think about and discuss this matter fully among yourselves before entering this

           plea of guilty?” (Id.). Movant responded, “Yes.” (Id.). The Court accepted Movant’s

           guilty plea. (Id. at 23).

                 Movant received credit for acceptance of responsibility and a ninety-eight month

           term of imprisonment, and the remaining charges against Movant were dismissed on

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           motion of the government. (Doc. 443; Doc. 547 at 20). Movant appealed and asserted

           that his appeal waiver was unenforceable based on a breach of the plea agreement.

           (See Doc. 619, Attach. at 1). The Eleventh Circuit Court of Appeals found that the

           agreement had not been breached and that Movant’s appeal did not fall under an

           exception to the waiver provision and dismissed his appeal. (Id. at 2).

                 In Ground One of his § 2255 motion, Movant argues that counsel provided

           ineffective assistance (1) by instructing him to sign the plea agreement without

           advising him on the advantages of taking an appeal, the appeal waiver, and the appeal-

           waiver’s consequences and (2) by instructing him to say “yes” to all the questions the

           court asked during the plea hearing. (Doc. 628, Mem. at 5, 7). Movant states that, had

           counsel advised him on the appeal waiver, he would have “opted to reject” the appeal-

           waiver clause and that he was prejudiced by counsel’s advice. (Id. at 6). In Ground

           Two, Movant argues that counsel provided ineffective assistance at sentencing by

           failing (1) to properly argue for a minor role adjustment, (2) to properly challenge the

           drug quantity for which he was responsible, or (3) to present argument on a reasonable

           prison term. (Id. at 8, 10, 12). Movant asserts that he is entitled to an evidentiary

           hearing. (Id. at 14-15).




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                 The government responds that the record demonstrates the knowing and

           voluntary nature of Movant’s appeal waiver, that the appeal waiver was adequately

           explained by counsel and the court, and that Movant fails to show prejudice based on

           counsel’s assistance in regard to the appeal waiver. (Doc. 631 at 9, 12-18). The

           government further responds that Movant’s valid appeal waiver bars his claim that

           counsel was ineffective at sentencing. (Id. at 18-20). Movant’s reply does not add

           significantly to the argument he presented in his § 2255 motion. (Doc. 633).

                 An appeal waiver is enforceable if “(1) the district court specifically questioned

           the defendant about the waiver; or (2) the record makes clear that the defendant

           otherwise understood the full significance of the waiver.” United States v. Johnson,

           541 F.3d 1064, 1066 (11th Cir. 2008) (citing United States v. Bushert, 997 F.2d 1343,

           1351 (11th Cir. 1993)). A valid waiver waives the right to challenge a sentence via a

           claim that counsel was ineffective on sentencing matters. See Williams v. United

           States, 396 F.3d 1340, 1341-42 (11th Cir. 2005) (stating that a knowing and

           voluntarily sentence appeal waiver “precludes . . . § 2255 claims based on ineffective

           assistance at sentencing”). A valid appeal waiver, however, “does not preclude claims

           brought pursuant to § 2255 that challenge the validity of the defendant’s plea or the




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           appeal waiver based on the ineffective assistance of counsel.” Patel v. United States,

           252 F. App’x 970, 974 (11th Cir. 2007) (emphasis in original).

                 A criminal defendant possesses a Sixth Amendment right to “reasonably

           effective” legal assistance. Strickland v. Washington, 466 U.S. 668, 687 (1984). To

           show constitutionally ineffective assistance of counsel, a movant must establish that

           (1) counsel’s representation was deficient and (2) counsel’s deficient representation

           prejudiced him. Id. at 690-92. The Court may resolve an ineffective assistance claim

           based on either of the above prongs. Bottoson v. Moore, 234 F.3d 526, 532 (11th Cir.

           2000). To succeed on a claim that a guilty plea was obtained as the result of

           ineffective assistance of counsel, a movant must show that the advice he received from

           counsel was deficient and that there is a reasonable probability that, but for counsel’s

           deficient representation, “he would not have pleaded guilty and would have insisted

           on going to trial.” Stephens v. Sec’y, Fla. Dep’t of Corr., 678 F.3d 1219, 1225 (11th

           Cir. 2012) (quoting Hill v. Lockhart, 474 U.S. 52, 59 (1985)) (internal quotation marks

           omitted), cert. denied, _ U.S. _, 133 S. Ct. 484 (2012); see also Padilla v. Kentucky,

           559 U.S. 356, 372 (2010) (“[A] petitioner must convince the court that a decision to

           reject the plea bargain would have been rational under the circumstances.”).




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                 Movant does not show that his appeal waiver was involuntary based on

           ineffective assistance of counsel. Although Movant complains that counsel was

           ineffective for advising him to accept the waiver without properly advising him on the

           benefits of an appeal, (1) Movant does not state with any particularity what additional

           information counsel could have provided on the benefits of an appeal that would have

           changed his decision to plead guilty and (2) at the hearing Movant affirmed to this

           Court that he understood everything and that he had fully discussed the matter with his

           counsel. The record, as discussed above, (Doc. 318, Guilty Plea and Plea Agreement

           at 2, 12, 14; Doc. 598 at 11-13, 20-22), affirmatively contradicts Movant’s assertion

           that he did not understand the appeal waiver and its consequences. Further, Movant’s

           sworn affirmation – that no one had advised him not to tell the complete truth –

           contradicts his assertion that counsel instructed him to simply say yes to all the Court’s

           questions.

                 Movant also fails to show prejudice. There is no indication in the record that the

           government would have been willing to enter into a plea agreement that did not contain

           an appeal waiver. By pleading guilty, Movant benefitted from the dismissal of the

           remaining charges and receiving credit for acceptance of responsibility, and he

           presents nothing that convinces the Court of a reasonable probability that, with

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           additional explanation on the benefits of appeal, he would have rejected the plea and

           faced the prospect of trial. Because Movant fails to show that counsel’s assistance

           rendered his appeal waiver involuntary and invalid, the appeal waiver stands. The

           Court properly questioned Movant and ascertained that he understood the appeal

           waiver. Based on his valid waiver, Movant’s challenge to counsel’s assistance at

           sentencing fails.

                  Based on the above discussion, the undersigned concludes that Movant has

           failed to show that he is entitled to relief and that his § 2255 motion should be denied.

           IV.    Certificate of Appealability (“COA”)

                  Pursuant to Rule 11 of the Rules Governing § 2255 Cases, “[t]he district court

           must issue or deny a certificate of appealability when it enters a final order adverse to

           the applicant. . . . If the court issues a certificate, the court must state the specific issue

           or issues that satisfy the showing required by 28 U.S.C. § 2253(c)(2).” Section

           2253(c)(2) states that a certificate of appealability may issue “only if the applicant has

           made a substantial showing of the denial of a constitutional right.” To satisfy that

           standard, a movant must demonstrate that “reasonable jurists could debate whether (or,

           for that matter, agree that) the petition should have been resolved in a different manner

           or that the issues presented were adequate to deserve encouragement to proceed

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           further.” Lott v. Attorney Gen., 594 F.3d 1296, 1301 (11th Cir. 2010) (quoting

           Miller-El v. Cockrell, 537 U.S. 322, 336 (2003)) (internal quotation marks omitted).

                 “When the district court denies a habeas petition on procedural grounds
                 without reaching the prisoner’s underlying constitutional claim,” . . . a
                 certificate of appealability should issue only when the prisoner shows
                 both “that jurists of reason would find it debatable whether the petition
                 states a valid claim of the denial of a constitutional right and that jurists
                 of reason would find it debatable whether the district court was correct in
                 its procedural ruling.”

           Jimenez v. Quarterman, 555 U.S. 113, 118 n.3 (2009) (quoting Slack v. McDaniel, 529

           U.S. 473, 484 (2000)).

                 It is recommended that a COA is unwarranted because it is not debatable that

           Movant’s appeal waiver is valid. If the Court adopts this recommendation and denies

           a COA, Movant is advised that he “may not appeal the denial but may seek a certificate

           from the court of appeals under Federal Rule of Appellate Procedure 22.” Rule 11(a),

           Rules Governing Section 2255 Proceedings for the United States District Courts.

           V.    Conclusion

                 For the reasons stated above,

                 IT IS RECOMMENDED that Movant’s § 2255 motion, (Doc. 628), be

           DENIED.

                 IT IS FURTHER RECOMMENDED that a COA be DENIED.

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                 The Clerk of Court is DIRECTED to withdraw the referral of this § 2255

           motion from the assigned Magistrate Judge.

                 IT IS SO RECOMMENDED and DIRECTED this 17th day of June, 2014.




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